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                                          MOTION FOR RECONSIDERATION OF
                                          VALID CAUSE OF ACTION THAT
                                          WAS DETERMINED TO BE INVALID
                                          BY JUDGE OHTA IN ERROR &
                                          POTENTIAL FUTURE PROOF OF
                                          BIAS IF 2ND LOOK IS THE SAME




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      MY CAUSES OF ACTION ARE LEGITIMATE
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      My Intent for This Document
3     I’m going to cover only, ‘The Unruh Civil Rights Act Civil Code § 51’ in this document,
4     because you blatantly denied my presented testimony the right of you giving it a legitimate
5     look at the facts surrounding it and the only ruling possible, at the hearing. For this reason,
6     you mentioned new evidence in your Order, therefore, I will show that, for you, this will serve

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      as new evidence vital for my case and more vital for my civil rights and for my case to receive
      fair and equal considerations in the interest of justice. I will work on the other Causes of
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      Action, for you to actually review, only after you have made the proper determination on the
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      legitimacy of The Unruh Act, or for the Appellate Court. This will also serve as my attempt to
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      gain your proper attention to my case and its specifics that are legitimate, so that they have
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      knowledge of my efforts, your stance and what’s legitimate.
12    CALIFORNIA’S UNRUH CIVIL RIGHTS ACT Civil Code § 51
13           The Unruh Civil Rights Act applies to all business establishments which provide
14    services, goods, or accommodations to the public. The California Supreme Court has emphasized
15    that “business establishments” must be interpreted “in the broadest sense reasonably

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      possible.” (Curran v. Mount Diablo Council of the Boys Scouts of Am., (1998) 17 Cal.4th 670,
      696.) All persons within the jurisdiction of the, State of California, are free and equal, and no
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      matter what their sex, race, color, religion, ancestry, national origin, disability, medical
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      condition, genetic information, marital status, or sexual orientation are entitled to the full and
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      equal accommodations, advantages, facilities, privileges, or services in all business
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      establishments of every kind whatsoever. As with the Unruh Civil Rights Act, the California
21    Legislature amended the Disabled Persons Act to incorporate ADA violations and make them a
22    basis for relief under the act. (Civ. Code, §§ 54(c), § 54.1(d); Munson, supra, at 674; Wilson v.
23    Murillo (2008) 163 Cal.App.4th 1124, 1131.)
24           The Court held in Harris v. Capital Growth Investors XIV, 52 Cal. 3d 1142 (Cal. 2001),

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      that proof of intentional discrimination was necessary to establish a violation of the Unruh Act.
      In 2002, the state Legislature amended the Act to include ADA violations as violations of the
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      Unruh Act.
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1     THE EXTENT I WILL GO HERE
2            The Defendants violations directly relate to both the Unruh Act & the ADA. Perhaps the
3     reason that you weren’t able to connect the Defendants actions to the Unruh Act, was because of

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      the fact, that we never actually discussed my 7thAC, in order for you to gain such an
      understanding. The Defendants actions were definitely intentional in each & every aspect, up to
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      the point & past the point of ‘Premeditation’. There’s no way that you should be able to deny
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      these facts that ARE INCLUDED IN THE 7THAC. I will inform you of the vital proof of their
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      Unruh Act violations, which will confirm the intentional infliction of harm that they inflicted
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      upon my family, and you can review the rest as I prepare it. It’s obvious you didn’t give proper
9     attention to my 7thAC, or you would have come to the true conclusion. I’m also going to mention
10    1 or 2 violations, and according to your response, I’ll provide or not provide the rest.
11    THE DEFENDANTS VIOLATIONS OF THE ACT
12           The main violation they committed against my family, was after the Defendants

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      FAILED TO SCHEDULE the follow up inspection, which is to ensure that repairs are made to
      all items noted by the Inspector during the initial inspection, that solely up to the Defendants to
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      Schedule. This means that NO FOLLOW UP INSPECTION WAS CONDUCTED, on the
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      06/30/2018, deadline date. Note: I’d been issued an ‘Intent to Terminate Residents Voucher for
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      Failed Inspection’ document, over a month prior to the deadline date, that my family hadn’t
17
      received during our 1st 6 years on housing nor since that date.
18    IRREFUTABLE PROOF OF THEIR INTENT TO HARM MY FAMILY
19           Supervisor & Case Worker (Angie & Susana), after creating & serving me with their
20    ‘ONE OF A KIND’, NOTICE OF INTENT, with Malice of Forethought, chose to treat their
21    Unscheduled & Unconducted Inspection, as if it were an Inspection that was actually performed

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      by the Inspector on that 06/30/2018 date, they also maliciously claimed that it had Failed. Next,
      with a Premeditated malice of forethought, they both placed the entire blame on me as the only
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      reason for its failure, but also enforced their determination that we suffer the consequence, that
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      they saw as fitting for my family for causing this ‘Fabricated Failure’, of being forcefully
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      removed from our home, with no other alternative, to live homeless for nearly 2 years, not only
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      with knowledge we had no fault in the failure whatsoever, but also while knowing no repair in
27    need was tenant cause. They also REFUSED TO ACCEPT THE ACTUAL REPAIR
28    PASSING A WEEK LATER THAT WAS CONDUCTED BY THE INSPECTOR



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1     WITHOUT THEIR KNOWLEDGE, which they were very upset about it being done by the
2     Inspector. I pleaded with Susana & Angie to allow my family to remain in our home because of
3     the affects the move & homelessness would have on my disability and my son’s schooling, the

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      hardship of having to move from the 2nd floor with a hip in need of surgery, the lack of funds to
      move and acquire a storage, etc. This request satisfied the requirements of a verbal RAR, which
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      is a legitimate method, although a written RAR is preferred.
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              To warn me of their intent to terminate my voucher with a form never used or heard of,
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      fail to schedule the same inspection, enter it as actually inspected & failed, intentionally place
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      the blame on my family that was known to be totally untrue, refuse the passing of the same
9     inspection and determine that we become homeless for their failure to schedule, fail to
10    reschedule their failure, failure to reinstate my voucher instead of framing my family
11    maliciously, CONFIRMS BOTH MALICE OF FORETHOUGHT & INTENT TO CAUSE
12    HARM, which being forced into being homeless would undoubtably cause.

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      IN CLOSING
              This is enough to satisfy the Unruh Civil Rights Act requirement of MALICIOUS
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      INTENT & the Unruh Civil Rights Act with the ADA incorporated amendments. I’m not going
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      to include the Defendants other actions in the 7thAC, that also directly confirm that the violations
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      are valid and are appropriately used as the ‘Causes of Action’, that was wrongfully determined as
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      not legitimate in the Order following the recent hearing to Dismiss my 7thAC for not stating a
18    claim, that was scheduled for the hearing, even though I’d already proven that Judge Curiel had
19    sworn that it had stated a claim, but also had ORDERED me to file it in its current form, after
20    his careful review and determination.
21            My last motion was not pertaining to the Causes of Action specifically, so this one will

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      provide the proof necessary, to show the bias that’s been used thus far in my case to an
      exceptionally large degree & has prejudiced my case while violating my civil rights under the
23
      law. If the above doesn’t confirm that the Defendants violated the Unruh act by itself, which is
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      only the start of the violations of it by itself, then I stand corrected, but will only accept this
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      correction from the 9th Circuit of Appeals, due to the fact that I feel your opinions are biased, but
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      have no other choice but to appeal your decision, to you, at this time. I also would like for this to
27    serve as a show of my efforts, which are fatigued from having to run into the same wall up until
28    now, and an example of your show of favoritism & use of bias, from not being able to see how



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1     the above actions by the Defendants by themselves, were blatant violations, or simply unwilling
2     to rule on them as they demand to be ruled on, which is by choice. I’m not a Pro Se Plaintiff with
3     a filter in re to the facts, but I only intend to do so with the most amount of respect possible in

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      the circumstances that I’ve been given. WITH ALL DUE RESPECT!

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                                          Digital Signer:Irvin Musgrove
11                       Irvin            DN:C=US,
                                          E=irvinvsoha2020@outlook.co
                                          m, CN=Irvin Musgrove

12                       Musgrove         Date:2022.10.18
                                          10:54:51 -07:00

                 Signed: ______________________________
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15                       10/18/2022
                 Date: ________________
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